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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


  CRYSTAL LAGOONS U.S. CORP. AND
  CRYSTAL LAGOONS TECHNOLOGIES                      COMPLAINT
  INC.,

                Plaintiffs,                  Case No. 2:21-cv-00507-DBP

         vs.                                Magistrate Judge Dustin B. Pead

  PACIFIC AQUASCAPE INTERNATIONAL
  INC.,                                      JURY TRIAL DEMANDED

               Defendant
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          Plaintiffs Crystal Lagoons U.S. Corp. and Crystal Lagoons Technologies Inc.

(“Crystal Lagoons”), through its undersigned attorneys, for its Complaint against Defendant

Pacific Aquascape International, Inc. (“Pacific Aquascape”) alleges as follows:

     I.   THE PARTIES

1.        Crystal Lagoons U.S. Corp. is a Delaware corporation with its principal place of

          business at 2 Alhambra Plaza, PH1B, Coral Gables, FL 33134.

2.        Crystal Lagoons Technologies Inc. is a Delaware corporation with a place of business

          at 1209 Orange Street, Wilmington, DE 19801. Crystal Lagoons U.S. Corp. and

          Crystal Lagoons Technologies Inc. are collectively referred to as “Crystal Lagoons”

          herein unless the context indicates otherwise.

3.        On information and belief, Pacific Aquascape International, Inc. is a Utah corporation

          with its principal place of business at 17520 Newhope Street, #120, Fountain Valley,

          California 92780.

 II.      JURISDICTION

4.        This is an action for patent infringement arising under the Acts of Congress relating

          to patents, 35 U.S.C. §§ 271, et seq.

5.        This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1338(a).

6.        This Court has personal jurisdiction over Pacific Aquascape because Pacific

          Aquascape is a Utah corporation.

7.        Venue is proper in this District under 28 U.S.C. §1400(b) because Pacific Aquascape

          resides in this district, having its place of incorporation here.



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III.   BACKGROUND OF CONVENTIONAL SWIMMING POOLS AND
       CRYSTAL LAGOONS’ INNOVATIVE LAGOON TECHNOLOGY

8.     Crystal Lagoons has developed and patented a technology that allows building and

       maintaining large man-made lagoons with high transparency and excellent water

       quality at low costs, and that is changing the lifestyle of people worldwide. Crystal

       Lagoons’ technology is one of the most innovative and important technologies of

       recent years in the world. With over 2,000 patents in 190 countries, Crystal Lagoons

       is responsible for more than 70 projects already in operation and in construction

       stages, and more than 1,000 projects globally in discussions, negotiation or planning

       stages worldwide, bringing beach life to every corner of the world.

9.     Inventor Fernando Fischmann, a real estate developer and biochemist, had started

       planning a second-home real estate development called San Alfonso del Mar, in a

       small town on Chile’s central coast. Although the site had a fantastic view of the sea

       and was close to Santiago (Chile’s capital), the local shoreline was unattractive due

       to cold-water temperatures, as well as the dangerous waves and undercurrents, which

       posed a risk to bathers, who were forbidden to swim or practice watersports in the

       area. Mr. Fischmann envisioned creating an enormous lagoon 0.6 miles long and 20

       acres in surface area, with turquoise waters that could provide a safe way to swim and

       enjoy watersports in a clean and family-friendly environment.

10.    Mr. Fischmann traveled around the world to the United States, Australia, Germany,

       and other countries looking for a company that was able to turn his vision into a

       reality, and he was repeatedly told that the only technology that existed to provide

       recreational water bodies for swimming was conventional swimming pool


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      construction and operation technology, and that it was not viable or economically

      feasible to have such large water bodies with excellent water quality and

      transparency, and he would never succeed in creating such a technology.

11.   The San Alfonso del Mar lagoon envisioned by Mr. Fischmann is equivalent to 6,000

      residential pools, and therefore using traditional pool construction and operation

      technologies would make such a structure unviable technically and economically.

12.   Mr. Fischmann, a trained biochemist, conducted research for more than 7 years to

      develop a technology that allowed building a low-cost structure to maintain such a

      large water body, and also for maintaining the water with an innovative water

      treatment technology that uses up to 100 times less chemicals and up to 50 times less

      electricity than conventional swimming pool technology. This state-of-the-art

      technology allows creating and operating recreational water bodies of any size with

      excellent water quality and transparency at low costs.

13.   Mr. Fischmann invented a new structure, with specific technical features and

      elements, in order to create a low-cost structure to contain large water bodies used for

      recreational purposes, which was first used in the construction of the first lagoon at

      San Alfonso del Mar. This technology included, among others, the use of a plastic

      liner instead of a complete concrete shell, where the liner is mostly installed directly

      over soil or compacted sand. This had not been done anywhere else in the world to

      create large man-made lagoons with turquoise water similar to tropical seas for

      recreational purposes such as swimming and the practice of water sports. Further, Mr.

      Fischmann invented a new water treatment technology that uses flocculation to settle



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      particles and contaminants to the bottom of the large water bodies, and removing such

      settled material with a cleaning system.

14.   Over the years, Mr. Fischmann has invented many technologies, including systems

      and methods for water treatment, bottom cleaning, efficient filtration systems,

      business methods, localized disinfection systems, construction methods, hydraulic

      systems and techniques, among others, creating a 2,000+ patent portfolio worldwide.

15.   Crystal Lagoons’ technology is one of the most innovative and sought-after

      technologies of recent years in the world. It has received numerous awards and two

      Guinness Book of World Records. It turned a mirage into reality: creating beautiful

      clear water bodies for bathing and the practice of water sports, bringing beach life to

      all corners of the world. These man-made lagoons are not only used for swimming

      and bathing, but also for practicing water sports, such as kayaking, sailing, rowing,

      and windsurfing, in designated areas within the lagoon.

16.   On information and belief, all large man-made lagoons with clear waters used for

      direct contact recreational purposes, such as swimming, bathing, and also for the

      practice of water sports in the U.S., are built, operated, and maintained with Crystal

      Lagoons’ technology.

17.   Crystal Lagoons has developed and patented various technologies that have enabled

      a change in peoples’ lifestyle around the world. Today they have a portfolio of over

      2,000 patents in 190 countries around the world. Their scientific efforts are also

      focused on the development of a wide variety of industrial applications that allow




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      them to help solve pressing global sustainability issues, which include water and

      energy scarcity, as well as environmental degradation.

18.   Mr. Fischmann’s revolutionary innovations for building and maintaining large man-

      made lagoons with excellent water quality at low costs and in a sustainable manner

      allowed for the first lagoon in San Alfonso del Mar and paved the way for the rest of

      the world, having today more than 70 projects in different stages of operation and

      construction, and more than 1,000 projects in discussion, planning or negotiation

      stages, with lagoons of more than 30 acres of water surface. Crystal Lagoons has

      projects in the United States, South Africa, Dubai, Indonesia, Thailand, Egypt, Spain,

      Turkey, Vietnam, Chile, Peru, Bolivia, Paraguay, Argentina, among other countries.

      Some examples can be seen below from photos of projects in the U.S. using Crystal

      Lagoons’ technology:




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                Figure 1: Epperson Project, Florida (7 acres)




                Figure 2: Epperson Project, Florida (7 acres)




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          Figure 3: Photograph of Lago Mar Project, Texas (12 acres)




          Figure 4: Photograph of Lago Mar Project, Texas (12 acres)




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          Figure 5: Photograph of the Balmoral project, Texas (2 acres)




         Figure 6: Photograph of the Sole Mia Project, Florida (7 acres)




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      Figure 7: Photograph of Windsong Ranch Project Houston Texas (5 Acres)




19.    The following is a web link to a video of the Epperson Project, located in Florida and

       the Lago Mar project, located in Texas, which shows the concept and technology

       from Crystal Lagoons, providing clear differentiation from a conventional swimming

       pool. Link Epperson Project: https://vimeo.com/445038143/5896695be3. Link Lago

       Mar Project: https://vimeo.com/445038144/95ef018e89.

20.    This innovation has allowed developers to create real estate projects where residents

       have access to beach life at the doorsteps of their home, enjoying the man-made

       crystalline lagoon far from the sea, and recently, through his latest concept of the

       Public Access Lagoons™, bringing beach life to an urban setting having a ticketed

       access to the lagoon complex, changing the lifestyle of people in cities. Instead of



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      having to drive long hours or fly to a tourist beach destination, the nearby population

      will be able to visit the beach through the Public Access Lagoons™ or PAL™ concept

      just steps away from their homes, having access to several recreational, commercial,

      and cultural facilities and experiences, such as restaurants, practicing water sports,

      concerts, among others, changing the lifestyle of cities around the world.

21.   Similar to the beginning of public parks 200 years ago, when the first city parks were

      created in England bringing a natural forest to cities, this innovation brings a piece of

      the ocean to cities, incorporating the beach into an urban context.

22.   This new Public Access Lagoons™ or PAL™ concept has gained so much drive that

      from October 2019 to date more than 130 projects around the world have been signed

      as part of Master Agreements or single agreements with estimated royalties for

      Crystal Lagoons that exceed US $8 billion in present value.

23.   The importance of Crystal Lagoons’ technology is further backed by many facts.

      First, Crystal Lagoons became the first Chilean “Unicorn” only one and half years

      after its creation. “Unicorns” are start-up companies valued in over $1 billion dollars.

      Secondly, Mr. Fischmann has been honored many times with prestigious international

      awards, such as Ernst & Young’s “Entrepreneur of the Year,” “Innovator of the

      Year,” and “Businessman of the Year,” being the only executive to receive these three

      awards. In 2016, he received the Innovation Stevie Award in Italy, also known as the

      Oscars of the business world and previously awarded to Steve Jobs and Jeff Bezos,

      and the “Real Innovator Award,” by the London Business School, as well as the

      “Green Apple Award” received in the House of Commons at Westminster Palace,



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      London, among many others. Mr. Fischmann is also director of the German Institute

      for applied science Fraunhofer Institute FCR. Thirdly, Mr. Fischmann has also been

      a keynote speaker at events organized by the Harvard Business School, MIT, Duke,

      Babson College, London Business School, Berkeley, among many other events and

      was recently interviewed by Stanford University radio for 40 minutes. Mr. Fischmann

      has also been given the O-1 visa in the U.S., for Individuals with Extraordinary

      Ability or Achievements. Recently, he has been awarded with the WIPO Gold Medal

      Inventor Award, the ceremony being planned for September 2021. All of this as a

      result of the impact of his technologies on the lifestyle of people around the world.

IV.   PATENT OWNERSHIP

24.   On November 22, 2011, the United States Patent and Trademark Office (“PTO”) duly

      and legally issued U.S. Patent No. 8,062,514 (“the ’514 Patent”) titled: “Structure to

      contain a large water body of at least 15,000 m3” to Crystal Lagoons Corporation

      LLC. A true and correct copy of the ’514 patent is attached hereto as Exhibit A. The

      ’514 Patent claims priority to U.S. Patent Application No. 11/819,017, filed on June

      25, 2007. The ’514 Patent also claims priority to Serial No. 3225-2006, filed

      November 21, 2006 in Chile.

25.   Crystal Lagoons (Curacao) B.V. received all right, title and interest in the ’514 patent

      by way of assignment recorded in the U.S. Patent and Trademark Office on March 8,

      2013.

26.   Crystal Lagoons (Curacao) B.V. then entered a written exclusive license agreement

      on November 19, 2019 with Crystal Lagoons U.S. Corp., granting Crystal Lagoons



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      U.S. Corp. all substantial rights in the ’514 Patent. These rights include the rights to

      make, use, have, import, sell, license, transfer, enforce, sue, collect past and future

      damages for infringement of the ’514 Patent, and otherwise fully exploit and utilize

      the asserted patent. Crystal Lagoons (Curacao) B.V. entered into this agreement with

      Crystal Lagoons U.S. Corp. with the intent of transferring all substantial rights under

      the Patent in Suit. The November 19, 2019 Agreement substituted for and superseded

      a prior agreement which predated the original complaint in this case.

27.   The exclusive license agreement indicates that the title holder of the ’514 Patent (then

      known as Crystal Lagoons (Curacao) BV) grants to Crystal Lagoons U.S. Corp. "an

      exclusive, perpetual (without a right of revocation), fully paid-up, royalty-free, non-

      transferable, sub licensable license, solely within the Territory, to use or have used

      the CLUS IP, to make, have made, import, sell and have sold any products that utilize

      or incorporate the CLUS IP and otherwise fully exploit the CLUS IP within the

      Territory.” “CLUS IP” includes the ’514 Patent in this case as well as other

      intellectual property. The Territory is the United States of America and its territories.

      The license agreement also includes a provision allowing for assignment of rights and

      obligations under the agreement with prior written consent of the other Party.

28.   In December 2019, Crystal Lagoons (Curacao) B.V., due to a comprehensive

      international restructuring process, migrated to the United States and converted into

      a Delaware corporation called Crystal Lagoons Technologies, Inc., also a named

      plaintiff in the present action, while retaining nominal title to and ownership in the

      ’514 Patent.



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29.   Therefore, Crystal Lagoons U.S. Corp., the exclusive licensee of the ’514 Patent,

      owns all substantial rights in Crystal Lagoons intellectual property in the U.S.

      including the ’514 Patent and other patents directed to water systems and related

      structures, business methods, and water treatment systems. Crystal Lagoons U.S.

      Corp. presently holds all substantial rights in the ’514 Patent including, but not limited

      to, the right to make, use, have, import, sell, license, enforce, transfer, and otherwise

      fully exploit and utilize the asserted patent.

30.   In addition to the ’514 Patent, Crystal Lagoons U.S. Corp., as an exclusive licensee,

      also owns all substantial rights in other patents for related technology licensed from

      Crystal Lagoons (Curacao) B.V. (n/k/a Crystal Lagoons Technologies, Inc.),

      including:

         U.S. Patent No. 9,708,822, titled: “Process to maintain large clean recreational

          water bodies” (“the ’822 Patent) which was duly and legally issued on July 18,

          2017 from U.S. Patent. Application No. 11/444,781 filed on July 28, 2014,

          claims priority to Application No. 11/819,017, filed on June 25, 2007, and also

          claims priority to Serial No. 3225-2006, filed November 21, 2006 in Chile, a

          true and correct copy of the ’822 patent is attached hereto as Exhibit B; and

         U.S. Patent No. 8,753,520, titled: “Localized disinfection system for large water

          bodies” (“the ’520 Patent) which was duly and legally issued on June 17, 2014

          from U.S. Patent. Application No. 13/955,699 filed on July 31, 2013, which

          claims priority to PCT/EP2012/076170 filed on December 19, 2012, a true and

          correct copy of the of the ’520 patent is attached hereto as Exhibit C.



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 (Collectively, along with the ’514 Patent, the “Asserted Patents.”)

31.    No parties other than the Plaintiffs own any substantial rights in the Asserted Patents.

       No other parties have the right to bring suit for infringement of the Asserted Patents.

 V.    PACIFIC AQUASCAPE’S RELATIONSHIP WITH CLOWARD H2O

32.    Pacific Aquascape was the general contractor and entity in charge of the construction

       of the 2-acre man-made lagoon, located at the Hard Rock Hotel & Casino in

       Hollywood, Florida (“Hard Rock Lagoon”). The design and engineering of this

       lagoon was done by Cloward H2O LLC, a Utah based company mainly involved in

       the business of conventional swimming pools and water parks.

33.    The Hard Rock Lagoon is currently part of a lawsuit filed October 19, 2019, by

       Crystal Lagoons against Cloward H2O LLC (“Cloward”).

34.    Cloward also received Crystal Lagoons’ confidential and proprietary information

       illegally from the owners of a separate South Florida project (located within 12-miles

       of the Hard Rock Lagoon) that has a lagoon designed, constructed and operating using

       Crystal Lagoons’ technology, with a signed License Agreement. The information

       consisted of hundreds of pages of documents, including a 98-page, complete set of

       Crystal Lagoons’ design drawings, permitting and pricing information, operational

       details and manuals, brochures, technical specifications and calculations, chemical

       MSDS, quotes for equipment and materials, among others. Crystal Lagoons is

       investigating taking legal action against the owners of the South Florida project.

35.    Cloward designed the multiple conventional small-sized swimming pools of the Hard

       Rock project (constructed with structural concrete, multiple inlets, and conventional



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      swimming pool technology) which were constructed by a company called Brightview

      Pools. In contrast, Cloward also designed the large structure with all the features from

      a lagoon using Crystal Lagoons’ technology, where such lagoon was constructed by

      Pacific Aquascape. An aerial photograph of the accused Hard Rock Lagoon can be

      seen in Figure 8 below, showing the clear difference between both types of water

      features:

 Figure 8: Hard Rock Swimming Pools and Lagoon, pools constructed by Brightview
                  and the Lagoon constructed by Pacific Aquascape




36.   Pacific Aquascape was the general contractor for the Hard Rock Lagoon. Pacific

      Aquascape built the Hard Rock Lagoon to Cloward’s design specifications, but also

      suggested changes and modifications to the lagoon plans and specifications.

37.   In a sworn declaration dated April 14, 2020, Pacific Aquascape’s President, Cory

      Severson, stated:



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        37.1.    “My testimony below relates to the swimming lake (“Swimming Lake”) at the

                 Hard Rock Seminole Hotel and Casino in Hollywood, Florida.” (Exhibit D,

                 ¶3.)

      37.2.      “Pacific Aquascape International constructed the Swimming Lake in

          accordance with the plans for the Swimming Lake provided by Cloward H2O LLC.”

          (Id., ¶4.)


VI.      PACIFIC AQUASCAPE’S RELATIONSHIP WITH CRYSTAL LAGOONS

38.      Pacific Aquascape and Crystal Lagoons are no strangers. More than 20 years ago,

         when Fernando Fischmann was looking at existing solutions for developing the

         technology, he met with Mr. Johan Perslow, owner of Pacific Aquascape, and Mr.

         Fischmann’s representatives travelled to California and Hawaii looking at some of

         the water bodies Pacific Aquascape had created, which were ornamental lakes for real

         estate developments with murky and greenish water and not for recreational purposes

         like swimming, as seen below:




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          Figure 9: Pacific Aquascape and Mr. Fischmann’s Representatives




VII.   STRUCTURE PATENT INFRINGEMENT

 THE ’514 PATENT (STRUCTURE PATENT) IS BEING INFRINGED AND WHAT
           PACIFIC AQUASCAPE BUILT IS NOT A SWIMMING POOL

39.    Pacific Aquascape is infringing and has infringed Crystal Lagoons’ ’514 Patent at

       least by constructing the Hard Rock Lagoon in accordance with the infringing

       specifications provided by Cloward.

40.    Claim 1 of the ’514 Patent (structure patent) states as follows: “A structure to contain

       a large water body, including a water body larger than 15,000 m³, for recreational use

       with color, transparency and cleanness characteristics similar to swimming pools or

       tropical seas, wherein the structure includes a bottom and walls covered with a plastic

       liner made of a non-porous material able to be thoroughly cleaned; wherein the depth

       of the structure to the bottom is about 0.5 meters or higher, wherein the structure

       includes a system of skimmers for the removal of impurities and surface oils, a fresh




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      water feeding pipe system that allows entrance of fresh water and results in water

      removal by displacement of surface water through the skimmer system, and a

      pumping system including a coupling means connected to a moveable suction device

      for cleaning the plastic liner.” Each of the elements of Claim 1 infringed as shown

      below:

      40.1.    “A structure to contain a large water body, including a water body larger than

               15,000 m³…” – This element is being infringed by the current lagoon structure

               at the Hard Rock Lagoon, which is larger than 15,000m3.

      40.2.    “…for recreational use with color, transparency and cleanness characteristics

               similar to swimming pools or tropical seas…” – This element is being

               infringed by the current lagoon structure at the Hard Rock Lagoon. The body

               of water is for recreational use, including swimming.

      40.3.    “…wherein the structure includes a bottom and walls covered with a plastic

               liner made of a non-porous material able to be thoroughly cleaned…”, – This

               element is being infringed by the current lagoon structure at the Hard Rock

               Lagoon. To provide more clarity and details for this element, see NOTE

               1: Walls.

      40.4.    “…wherein the depth of the structure to the bottom is about 0.5 meters or

               higher…” – This element is being infringed by the current lagoon structure at

               the Hard Rock Lagoon. As it is evident from the following picture, the depth

               of the accused structure is more than 0.5 m:




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                            Figure 10: Person in the lagoon




      40.5.   “…wherein the structure includes a system of skimmers for the removal of

              impurities and surface oils,…” – This element is being infringed by the

              current lagoon structure at the Hard Rock Lagoon. To provide more clarity

              and details for this element, see NOTE 2: Skimmers.

      40.6.   “…a fresh water feeding pipe system that allows entrance of fresh water and

              results in water removal by displacement of surface water through the

              skimmer system,…” – This element is being infringed by the current lagoon

              structure at the Hard Rock Lagoon. The accused structure includes a fresh

              water feeding pipe that allows entry of fresh water and results in water

              removal by displacement of surface water through the skimmer as it can be

              seen in the following photo:




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                         Figure 11: Fresh water feeding pipes




      40.7.   “…and a pumping system including a coupling means connected to a

              moveable suction device for cleaning the plastic liner.” – This element is

              being infringed by the current lagoon structure at the Hard Rock Lagoon. To

              provide more clarity and details for this element, see NOTE 3: Pumping

              System.

41.   NOTE 1: Walls

      41.1.   Information and photos show the sloped walls, the bottom, and the vertical

              walls were covered with a plastic liner.




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 Figure 12: Lagoon during construction showing liner in the vertical walls, where all
                 the vertical walls were covered with a plastic liner




 Figure 13: Lagoon during construction showing liner in vertical walls, where all the
                  vertical walls were covered with a plastic liner




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 Figure 14: Lagoon during construction showing liner in vertical walls, where all the
                  vertical walls were covered with a plastic liner




      41.2.   The definition of “walls” is “a structure that serves to hold back pressure (as

              of water or sliding earth)” See merriam-webster.com/dictionary/wall (Last

              Visited August 18, 2021). None of the specification of the ’514 Patent nor the

              prosecution history for the ’514 Patent puts forth a definition for the claim

              term “walls” that would contradict or otherwise modify this plain and ordinary

              meaning. Based on this definition, the structure at the Hard Rock Lagoon

              includes vertical walls and sloped walls that serve the purpose of holding back

              the water pressure. It has been estimated that the sloped walls at the Hard

              Rock Hollywood lagoon hold back 4 times more pressure than the vertical

              walls (as seen in the dictionary definition), and therefore these are the most

              important walls of the lagoon.



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      41.3.   To provide more clarity, a cross section of the Hard Rock Lagoon can be seen

              in Figure 15, Figure 16, and Figure 17 below (showing excerpts from

              Cloward’s plans and schematics based on such plans), which shows that there

              are three main inner surfaces that contain the water body: the vertical walls,

              the sloped walls, and the bottom.

                        Figure 15: Excerpt of Cloward’s Plans




                  Figure 16: Schematic of the Lagoon Cross Section




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                            Figure 17: Angle View of Lagoon




      41.4.   The structure at the Hard Rock Lagoon was constructed with a liner that

              covers the bottom, the sloped walls, and all the vertical walls. This can be seen

              in Figure 18 below:

         Figure 18: Liner covering vertical walls, sloped walls, and bottom




      41.5.   As it can be seen in the previous photo, the bottom, the sloped walls, and all

              the vertical walls were indeed constructed with a liner. Before the lagoon’s

              opening, part of the walls that have liner were covered with a shotcrete layer,


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              but the liner is still present in the structure, and more than 80% of the total

              lagoon has exposed liner such that the liner is able to be thoroughly cleaned,

              complying with the “including” requirement as claimed in the ’514 patent

              (structure patent).

      41.6.   Regardless of the previous argument, it is important to highlight that patent

              infringement analysis involves a two-step process: first, determine the scope

              and meaning of the asserted patent claim, and second, compare the claims as

              construed to the accused structure. Claim 1 recites a structure that “includes a

              bottom and walls covered with plastic liner made of a non-porous

              material able to be thoroughly cleaned.” “Includes” requires the following

              recitations, but is not limited to the recited elements. Callicrate v. New Age

              Indus. Corp., No. 04-4008-JAR, 2005 WL 1027095, at *16 (D. Kan. Apr. 27,

              2005). Therefore, based on the claim construction and its scope and meaning,

              this does not mean that 100% of such bottom and walls need to be covered

              with a plastic liner that can be thoroughly cleaned.

      41.7.   Notwithstanding, as shown before, the sloped walls, the flat bottom, and all

              the vertical walls are indeed covered with a plastic liner. Thus, even if a

              portion of the accused structure also includes walls covered with a shotcrete

              layer, there is still infringement as a matter of law.

42.   Also, according to Claim 1 of the ’514 patent, the non-porous material of the plastic

      liner needs to be able to be thoroughly cleaned by means of a suction device




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       connected to a pumping system in order to allow vacuuming the liner covering the

       sloped walls and flat bottom of the structure, as it is explained below:

 42.1. The cleaning systems that are used all around the world in the lagoons using Crystal

        Lagoons’ technology are used only for cleaning (vacuuming) the sloped walls and

        flat bottom, and not for the vertical walls (as these are cleaned through brushing and

        not a vacuum system).


 42.2. Similarly, in the lagoon at the Hard Rock Lagoon (designed by Cloward and built by

        Pacific Aquascape), the vertical walls are not cleaned with a vacuuming system, and

        only the sloped walls and bottom are cleaned through conventional vacuuming

        devices controlled remotely or manually operated, as it can be seen in Figure 19 and

        Figure 20 below:




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   Figure 19: Conventional pool suction device, not able to be used in vertical walls




 Figure 20: Diver performing manual cleaning using a moveable suction device in the
                                  sloped walls




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       42.3.   In summary, in the Hard Rock Lagoon, all vertical walls, the sloped walls and

               the bottom are covered with a plastic liner.

       42.4.   Further, a structure like the Hard Rock Lagoon that is built with a liner in the

               vertical walls, sloped walls and bottom allows to have construction costs that

               are very low compared to the conventional structural concrete walls and shell

               required for swimming pool construction, which is part of the novelty and

               inventive step of the ’514 patent (structure patent) from Crystal Lagoons.

43.    NOTE 2: Skimmers

 43.1. The accused structure includes a system of skimmers for removal of impurities and

       surface oils as seen in Figure 21 below:


                                   Figure 21: Skimmers




       43.2.   Claim 1 of the ’514 patent (structure patent) does not define a specific

               skimmer type as it is a patent describing the structure to contain water, not

               related to the specific hydraulic system for the skimmers. The ’514 patent

               mentions that skimmers may be surface slots or dumps, serving the purpose



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            of removing floating contaminants from the lagoon independently of the type

            of skimmer used, which is only one element of the structure and not a specific

            type or configuration, as it can be shown in the following excerpts from the

            patent:


                 Figure 22: ’514 Patent: Paragraph 4, Lines 64-65




                 Figure 23: ’514 Patent: Paragraph 9, Lines 43-44




                 Figure 24: ’514 Patent: Paragraph 6, Lines 42-43




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44.      NOTE 3: Pumping System

         44.1.   The accused structure includes a pumping system connected to a moveable

                 suction (vacuum) device for cleaning the plastic liner as seen in the following

                 figures:

      Figure 25: Pumping system connected to a moveable suction device cleaning the
                                          sloped walls




                     Figure 26: The vacuum system operated by a boat




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      Figure 27: Diver operating the suction device, cleaning the sloped walls




    Figure 28: Moveable suction (vacuum) device connected to a pumping system




      Figure 29: Example of moveable suction (vacuum) device used at Hard Rock

                                        Lagoon




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      44.2.   Claim 1 of the ’514 patent (structure patent) does not define a specific

              pumping system for providing suction power to the bottom cleaning system,

              as it is a patent describing the structure to contain water, not related to the

              specific configuration of the pumping system. The pumping system is

              connected to the suction device in order to provide suction power and achieve

              vacuuming of the bottom, however, it does not describe a specific type of

              pumping system, as it can be seen from the following patent excerpts:


                  Figure 30: ’514 Patent: Paragraph 11, Lines 19-20




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                  Figure 31: ’514 Patent: Paragraph 11, Lines 37-39




          VIII.     WATER TREATMENT PATENT INFRINGEMENT

45.   To provide turquoise, high clarity water and eliminate suspended particles for

      recreational water bodies, two different technologies can be used:

      45.1.   Traditional swimming pool filtration technologies that are usually applied in

              relatively small water bodies built with a structural concrete shell, which have

              a centralized filtration system, a large number of inlets/outlets, and a piping

              network located in the structure of the water body in order to allow the

              filtration of the entire volume of water homogeneously and efficiently many

              times per day depending on local regulations (as a reference, in Florida where

              the Hard Rock Lagoon is located, it is required to filter the complete water

              volume 4 times per day).

      45.2.   Crystal Lagoons’ technology that uses a plastic liner for constructing the

              lagoon structure, and that uses flocculants to flocculate suspended particles

              that fall to the bottom and are then removed by a suction device, which is

              applied in larger water bodies, and does not require to have a large number of




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             inlets and large filtration systems from conventional swimming pool

             technologies to achieve removal of particles from the water body.

46.   To provide more clarity to the above explanation, see the figures below:

                  Figure 32: Swimming pool technology schematic




                  Figure 33: Crystal Lagoons’ technology schematic




47.   Crystal Lagoons has developed technology for maintaining large man-made lagoons

      with excellent water quality at low cost. Several patents have been granted confirming




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       that these water treatment processes, bottom cleaning systems, and localized

       disinfection systems, among others, represent a significant advance over conventional

       swimming pool technology.

48.    Crystal Lagoons has a reasonable belief that Pacific Aquascape infringes and has

       infringed Crystal Lagoons’ patents related to water treatment technologies,

       specifically the ’822 patent and the ’520 patent (collectively the “Water Treatment

       Patents”).

      The ’822 patent

49.    Pacific Aquascape is infringing and has infringed Crystal Lagoons’ ’822 Patent at

       least by constructing and using the Hard Rock Lagoon in accordance with the

       infringing specifications provided by Cloward.

50.    Claim 1 of the ’822 patent states as follows: “A process to maintain a water body,

       wherein the water body has a volume of at least 15,000 m3 and is housed in a structure

       having a bottom and walls and provided with skimmers, the process comprising:

       maintaining pH of water in the water body at pH 5 to 9; adding an oxidation-reduction

       potential (ORP) of at least 600 mV for at least 4 hours within a 48 hour cycle; adding

       a flocculating agent to the water at a concentration of 0.02 to 1.0 ppm at a frequency

       of at least once every 6 days to precipitate impurities in the water and to accumulate

       precipitated impurities at the bottom of the structure; removing precipitated

       impurities at the bottom of the structure; removing precipitated impurities from the

       bottom with a movable suction device; feeding the water body with inlet water to

       generate displacement of surface water containing impurities and surface oils and



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       removing displaced surface water using the skimmers, the inlet water having iron and

       manganese levels lower than 1.5ppm and turbidity lower than 5 NTU, wherein the

       process is performed without traditional filtration, wherein traditional filtration

       comprises filtering the volume of water once or more in 24 hours.” Each of the

       elements of the claim is infringed as shown below:

       50.1. “A process to maintain a water body, wherein the water body has a volume of

              at least 15,000 m3 and is housed in a structure having a bottom and walls and

              provided with skimmers . . . .” – To the extent this preamble is a limitation,

              this element is infringed at the Hard Rock Lagoon. See ¶¶ 40.1, 40.3, 40.5.

       50.2. “. . . maintaining pH of water in the water body at pH 5 to 9 . . .” –This element

              is being infringed at the Hard Rock Lagoon.

       50.3. “. . . adding an oxidizing agent to the water to maintain an oxidation-reduction

              potential (ORP) of at least 600 mV for at least 4 hours within a 48 hour cycle

              . . .” – This element is infringed at the Hard Rock Lagoon. Further, inspection

              of the lagoon uncovered evidence of calcium hypochlorite (chlorine-based

              disinfectant) on site and a noticeable odor of chlorine from the lagoon water.

 Figure 34: Photograph of pallets containing calcium hypochlorite at the lagoon taken
                                  in September 2020.




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      50.4. “. . . adding a flocculating agent to the water at a concentration of 0.02 to 1.0

              ppm at a frequency of at least once every 6 days to precipitate impurities in

              the water and to accumulate precipitated impurities at the bottom of the

              structure . . .” – This element is being infringed at the Hard Rock Lagoon.

      50.5. “. . . removing precipitated impurities from the bottom with a movable suction

              device . . .” – This element is infringed at the Hard Rock Lagoon. See Note 3

              at ¶ 44, Figures 25-29, supra.

      50.6.   “. . . feeding the water body with inlet water to generate displacement of

              surface water containing impurities and surface oils and removing displaced

              surface water using the skimmers, the inlet water having iron and manganese

              levels lower than 1.5ppm and turbidity lower than 5 NTU. . .” – This element

              is infringed at the Hard Rock Lagoon. See ¶¶ 40.5-40.7, and Figures 11, 21,

              supra.

      50.7.   “. . . wherein the process is performed without traditional filtration, wherein

              traditional filtration comprises filtering the volume of water once or more in

              24 hours.” – This element is infringed at the Hard Rock Lagoon.

      50.8.   If the system at the Hard Rock Lagoon was effectively designed and built as

              a conventional swimming pool with the proper amount of inlets and drains

              based on swimming pool regulations, then short circuits would be avoided and

              homogeneous filtration of the complete water body would be provided, and

              the lagoon would not be subject to the large amount of contamination that it

              has had, and intensive bottom cleaning would not be required.



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      50.9.   When the lagoon was opened, the filtration systems were not operational and

              a company and its crew were hired to maintain the lagoon (the same company

              which currently operates other projects using Crystal Lagoons’ technology),

              where from information, testing, and belief, flocculants were used to aid in

              settling particles into the bottom of the lagoon and performing thorough

              manual bottom cleaning (assimilating Crystal Lagoons’ water treatment

              technology), which resulted in the lagoon having good aesthetics and

              cleanliness characteristics, as it can be seen in the following picture:


                     Figure 35: Hard Rock Lagoon after opening




      50.10. Once the filtration system and associated circulation systems started

              operating, the lagoon water quality started to deteriorate, become greenish,


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            and with high turbidity, since the systems and water treatment technology

            were insufficient and cannot operate efficiently, as it can be seen from the

            photo below. This is typically a result of an inefficient filtration system that

            does not have the proper amount of inlets and outlets to produce homogeneity

            of the water volume and cannot perform homogeneous filtration. This is

            another reason why the structure and systems uses Crystal Lagoons’

            technology.




      50.11. Swimming pool technology and Crystal Lagoons’ technology are different.

            This is even more evident given the fact that in the U.S., Crystal Lagoons has

            worked for over 7 years with the different health and environmental regulatory

            agencies across several states to create new regulations for the construction

            and operation of these lagoons, which are different than conventional

            swimming pool regulations. This process took years, as this concept and

            technology were an innovation and did not exist before, and therefore no



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              regulations existed for these large man-made lagoons with high transparency

              and excellent water quality for recreational purposes such as swimming and

              bathing but also for the practice of water sports at very low building and

              operation costs.

      50.12. For example, in Florida, the lagoons using Crystal Lagoons’ technology are

              classified as Public Bathing Places, a completely separate definition than

              swimming pools, with different construction and operation requirements.

              Also, Florida’s former governor, Rick Scott, traveled to Chile and visited the

              lagoons with Crystal Lagoons’ technology. In Texas, since there was no

              category where these types of lagoons would fit into, a new category was

              created by the Legislature by passing legislation, a process spearheaded by

              Crystal Lagoons. The result was that in Texas, the lagoons using Crystal

              Lagoons’ technology are classified as “Artificial Swimming Lagoons,” which

              allow for different construction and operation requirements than swimming

              pools to still provide a recreational water body. A similar process was

              followed in North Carolina, where a new category of “Artificial Swimming

              Lagoons” was created through legislation since there were no regulations

              suitable for these large man-made lagoons, also requiring different

              construction and operation requirements than swimming pools, among others.

     50.13.   The Hard Rock Lagoon, which was built by Pacific Aquascape to Cloward’s

              specifications, uses a technology that on information and belief does not

              comply with swimming pool requirements for construction and operation



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             (based on Florida’s swimming pool regulations found in Rule 64E-9) in the

             construction and implementation of the Hard Rock Lagoon. This could only

             be done here given the Tribe’s sovereign immunity at the site which allows

             them to not be subject to enforcement of such rules by the enforcement agency.

   50.14.       Further, on-site inspections of the Hard Rock Lagoon reveal the use of several

       supplemental filtration systems installed in the perimeter of the lagoon that take

       water locally, filter it, and return it to the same location, as the installed filtration

       system operated only a few hours per day prior to becoming clogged. See Figures

       36-38.


                        Figure 36: Location of supplemental filters




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   Figure 37: Aerial view of supplemental filters currently in use at the Hard Rock
                                      Lagoon




    Figure 38: Close-up of supplemental filters currently in use at the Hard Rock
                                 Hollywood Lagoon




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The ’520 Patent

51.   Pacific Aquascape is infringing and has infringed Crystal Lagoons’ ’520 Patent at

      least by constructing and using the Hard Rock Lagoon in accordance with the

      infringing specifications provided by Cloward.

52.   Claim 1 of the ’520 Patent states as follows: “A method for controlling

      microbiological properties of a portion of water within a water body, comprising: a.

      identifying a portion of water intended for recreational purposes within the water




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      body, the portion of water comprising one or more zones wherein: at least one zone

      is designated a sanitary compliance zone, at least one zone is designated a delimiting

      zone, and one zone is designated a most unfavorable zone, the most unfavorable zone

      corresponding to the zone that exhibits the lowest ORP value within the identified

      portion of water; b. maintaining at least a minimum ORP level in the portion of water

      for at least a minimum period of time, wherein the minimum ORP level and the

      minimum period of time cannot be lower than the values calculated by: i. determining

      salinity of the water at the most unfavorable zone; and ii. determining the minimum

      ORP value based on the salinity of the water where: for salinities in the water between

      0% and up to 1.5% the minimum ORP level is 550 mV; for salinities in the water

      higher than 1.5%, and up to 2.5%, the minimum ORP level is calculated by the

      following equation: [Minimum ORP,mV]=625−50*[Salinity of the Water,%(Weight

      Percent)]; and for salinities in the water higher than 2.5%, the minimum ORP level is

      500 mV; iii. determining the temperature of the water in the most unfavorable zone;

      and iv. determining the minimum period of time based on the water temperature,

      wherein: for water temperatures from 5° C. to 35° C., the minimum period of time is

      calculated    by     the     following      equation:     [Minimum       period     of

      time,min]=80−2*[Temperature of the water,° C.]; and for water temperatures

      between 35° C. and up to 45° C., the minimum period of time is calculated by the

      following equation: [Minimum period of time,min]=5*[Temperature of the water,°

      C.]−165; c. dispensing an effective amount of chemical agent into the identified

      portion of water in order to maintain at least the minimum ORP level during at least



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      the minimum period of time at the most unfavorable zone, and d. repeating step c as

      needed to prevent the ORP in the most unfavorable zone from decreasing by more

      than 20% of the minimum ORP value. Each of the elements of the claim is infringed

      as shown below:

      52.1.   “a. identifying a portion of water intended for recreational purposes within the

              water body, the portion of water comprising one or more zones wherein: at

              least one zone is designated a sanitary compliance zone, at least one zone is

              designated a delimiting zone, and one zone is designated a most unfavorable

              zone, the most unfavorable zone corresponding to the zone that exhibits the

              lowest ORP value within the identified portion of water. . .” – This element is

              infringed at the Hard Rock Hollywood Lagoon.

      52.2.   “b. maintaining at least a minimum ORP level in the portion of water for at

              least a minimum period of time, wherein the minimum ORP level and the

              minimum period of time cannot be lower than the values calculated by:

                     i. determining salinity of the water at the most unfavorable zone; and

                     ii. determining the minimum ORP value based on the salinity of the

              water where: for salinities in the water between 0% and up to 1.5% the

              minimum ORP level is 550 mV; for salinities in the water higher than 1.5%,

              and up to 2.5%, the minimum ORP level is calculated by the following

              equation: [Minimum ORP,mV]=625−50*[Salinity of the Water,%(Weight

              Percent)]; and for salinities in the water higher than 2.5%, the minimum ORP

              level is 500 mV;



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                     iii. determining the temperature of the water in the most unfavorable

             zone; and iv. determining the minimum period of time based on the water

             temperature, wherein: for water temperatures from 5° C. to 35° C., the

             minimum period of time is calculated by the following equation: [Minimum

             period of time,min]=80−2*[Temperature of the water,° C.]; and for water

             temperatures between 35° C. and up to 45° C., the minimum period of time is

             calculated    by   the    following    equation:    [Minimum      period    of

             time,min]=5*[Temperature of the water,° C.]−165. . .”

             – This element is infringed at the Hard Rock Lagoon. Further, inspection of

             the lagoon uncovered evidence of calcium hypochlorite (chlorine-based

             disinfectant) on site and a noticeable odor of chlorine from the lagoon water.

      52.3. “. . . c. dispensing an effective amount of chemical agent into the identified

             portion of water in order to maintain at least the minimum ORP level during

             at least the minimum period of time at the most unfavorable zone. . .” – This

             element is infringed at the Hard Rock Lagoon. Further, inspection of the

             lagoon uncovered evidence of calcium hypochlorite (chlorine-based

             disinfectant) on site and a noticeable odor of chlorine from the lagoon water.

      52.4. “. . . d. repeating step c as needed to prevent the ORP in the most unfavorable

             zone from decreasing by more than 20% of the minimum ORP value.” – This

             element is infringed at the Hard Rock Lagoon. Further, inspection of the

             lagoon uncovered evidence of calcium hypochlorite (chlorine-based

             disinfectant) on site and a noticeable odor of chlorine from the lagoon water.



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      IX.    DIRECT AND INDUCED INFRINGEMENT OF THE ’514 PATENT
                                    (STRUCTURE PATENT)

      PACIFIC AQUASCAPE CONSTRUCTED THE INFRINGING HARD ROCK
                                         LAGOON

53.     Pacific Aquascape has directly infringed and induced infringement, and continues to

        infringe and induce infringement, literally and/or under the doctrine of equivalents,

        of at least independent claim 1 of the ’514 patent by making and using the lagoon

        constructed for Hard Rock Seminole, and inducing others to at least make and use the

        lagoon.

54.     Cloward H2O was the engineer of record for the infringing Hard Rock Lagoon, which

        used Crystal Lagoons’ concepts and proprietary technology. Pacific Aquascape built

        the Hard Rock Lagoon, which infringes the ’514 patent. (See Ex. D, Severson Decl.,

        ¶4 (“Pacific Aquascape International constructed the Swimming Lake in accordance

        with the plans for the Swimming Lake provided by Cloward H2O LLC.”).)

55.     Thus, Pacific Aquascape built at the Hard Rock Hollywood site a structure to contain

        a large lagoon that, as required by the Crystal Lagoons’ structure patent (the ’514

        patent), has color, transparency and cleanness characteristics similar to swimming

        pools or tropical seas. The Hard Rock Lagoon, built by Pacific Aquascape, contains

        each element of at least Claim 1 of the ’514 patent, and therefore directly infringed

        that patent. See Paragraphs 39-48 above.

56.     Cloward H2O acted as the engineer of record for the infringing lagoon, provided

        plans and engineering schematics used to build the accused lagoon structure, and




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      worked with various contractors to carry out the lagoon’s construction. The primary

      contractor for the lagoon structure was Pacific Aquascape, which built the Hard Rock

      Lagoon.

57.   Pacific Aquascape, as the general contractor, built all of the components of the Hard

      Rock Lagoon structure. Pacific Aquascape also controlled and directed the making of

      the various components of the infringing structure and was responsible for ensuring

      that all the components of the structure combined into the infringing lagoon structure.

      Pacific Aquascape is liable for direct infringement as the maker of the infringing

      lagoon due to its central role as the general contractor for the project.

58.   Pacific Aquascape also directly infringed by using the infringing structure. As the

      general contractor, Pacific Aquascape was responsible to ensure all contractors

      performed their roles properly and all components contributing to the overall structure

      worked properly and integrated properly with the other components into an

      operational lagoon structure. Such testing and monitoring of the performance of the

      infringing lagoon structure constitutes infringing use.

59.   On information and belief, at least through June 2020, Pacific Aquascape maintained

      a relationship with Hard Rock Seminole related to maintenance and repair purposes.

      As such, Pacific Aquascape also used the infringing lagoon.

60.   On information and belief, Pacific Aquascape drafted a Building and Operation

      Manual that instructed end users how to use and operate the lagoon.

61.   In view of all the facts as alleged above, Pacific Aquascape’s actions induce

      infringement by the project owner, any person maintaining or operating the lagoon,



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      and even customers staying or using the lagoon are induced infringers. Such

      infringement through use, and inducing use by others, is a direct result of Pacific

      Aquascape’s role in building the lagoon.

62.   Upon information and belief, Pacific Aquascape knew of the ’514 Patent at the time

      it undertook its role as general contractor for the Hard Rock Lagoon. Pacific

      Aquascape’s acts of inducing infringement of its infringement of the ’514 patent were

      taken with knowledge that those actions would cause infringement of the ’514 patent.


      X.   DIRECT AND INDUCED INFRINGEMENT OF THE ’822 PATENT

63.   Pacific Aquascape built and operated the Hard Rock Lagoon, including its water

      treatment system, based on Cloward’s plans and technical specifications. (See Ex. D,

      Severson Decl., ¶4 (“Pacific Aquascape International constructed the Swimming

      Lake in accordance with the plans for the Swimming Lake provided by Cloward H2O

      LLC.”).) Pacific Aquascape has infringed and induced infringement, and continues

      to infringe and induce infringement, literally and/or under the doctrine of equivalents,

      of at least independent claim 1 of the ’822 patent by making and using the lagoon

      constructed for Hard Rock Seminole, and inducing others to at least make and use the

      lagoon.

64.   Pacific Aquascape also directly infringed by performing or causing the performance

      of the method steps of the ’822 patent. As general contractor, Pacific Aquascape’s

      responsibility was to ensure all components contributing to the overall structure and

      water treatment worked properly and integrated properly with the other components




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       into an operational lagoon structure. Such testing and monitoring of the performance

       of the infringing lagoon’s water treatment system constitutes infringing use.

65.    On information and belief, at least through June 2020, Pacific Aquascape maintained

       a relationship with Hard Rock Seminole related to maintenance and repair purposes.

       As such, Pacific Aquascape has also performed the infringing water treatment method

       at the Hard Rock Lagoon.

66.    In view of all the facts alleged above, Pacific Aquascape’s actions induce

       infringement by the project owner, any person maintaining or operating the Hard

       Rock Lagoon. Such infringement through use, and inducing use by others, is a direct

       result of Pacific Aquascape’s role in building the lagoon.

67.    Upon information and belief, Pacific Aquascape knew of the ’822 patent at the time

       it undertook its role as general contractor for the Hard Rock Lagoon. Pacific

       Aquascape’s acts of inducing infringement of the ’822 patent were taken with

       knowledge that those actions would cause infringement of the ’822 patent.

68.    Pacific Aquascape knew and intended that the Hard Rock Seminole operate the Hard

       Rock Lagoon water treatment system in a manner that infringes the ’822 patent.

       Pacific Aquascape is liable for induced infringement of the ’822 patent.


      XI.   DIRECT AND INDUCED INFRINGEMENT OF THE ’520 PATENT

69.    Pacific Aquascape built and operated the Hard Rock Lagoon, including its water

       treatment system, based on Cloward’s plans and technical specifications. (See Ex. D,

       Severson Decl., ¶4 (“Pacific Aquascape International constructed the Swimming

       Lake in accordance with the plans for the Swimming Lake provided by Cloward H2O


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      LLC.”).) Pacific Aquascape has infringed and induced infringement, and continues

      to infringe and induce infringement, literally and/or under the doctrine of equivalents,

      of at least independent claim 1 of the ’520 patent by making and using the lagoon

      constructed for Hard Rock Seminole, and inducing others to at least make and use the

      lagoon.

70.   Pacific Aquascape also directly infringed by performing or causing the performance

      of the method steps of the ’520 patent. As general contractor, Pacific Aquascape’s

      responsibility was to ensure that all components contributing to the overall structure

      and water treatment worked properly and integrated properly with the other

      components into an operational lagoon structure. Such testing and monitoring of the

      performance of the infringing lagoon’s water treatment system constitutes infringing

      use.

71.   On information and belief, at least of June 2020, Pacific Aquascape maintained a

      relationship with Hard Rock Seminole related to maintenance and repair purposes.

      As such, Pacific Aquascape also performed the infringing water treatment method at

      the Hard Rock Lagoon.

72.   In view of all the facts alleged above, Pacific Aquascape’s actions induce

      infringement by the project owner, any person maintaining or operating the Hard

      Rock Lagoon. Such infringement through use, and inducing use by others, is a direct

      result of Pacific Aquascape’s role in building the lagoon.

73.   Upon information and belief, Pacific Aquascape knew of the ’520 Patent at the time

      it undertook its role as general contractor for the Hard Rock Lagoon. Pacific



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         Aquascape’s acts of inducing infringement of the ’520 patent were taken with

         knowledge that those actions would cause infringement of the ’520 patent.

74.      Pacific Aquascape knew and intended that the Hard Rock Seminole operate the Hard

         Rock Lagoon water treatment system in a manner that infringes the ’520 patent.

         Pacific Aquascape is liable for induced infringement of the ’520 patent.


  XII.      DAMAGES AND HARM TO PLAINTIFFS FROM THE DIRECT AND
                                   INDUCED INFRINGEMENT

75.      Crystal Lagoons is concerned that its image will be damaged by Pacific Aquascape’s

         infringing acts as, on information and belief, aspects of the infringing lagoon involve

         undesirable environmental consequences that are avoided when Crystal Lagoons

         controls the design and implementation of the technology. This harm risks irreparably

         damaging the image of the Crystal Lagoons’ technology and of Crystal Lagoons as a

         company.

76.      Crystal Lagoons has complied with the marking requirements of 35 U.S.C. § 287, at

         least through notifying Pacific Aquascape before this complaint was filed that it was

         infringing the Asserted Patents through its actions at the Hard Rock Lagoon. Upon

         information and belief, Pacific Aquascape also had actual knowledge of at least the

         Asserted Patents prior to receiving notice of this complaint.

77.      Upon information and belief, Pacific Aquascape is and has been on notice of its

         infringement of the Asserted Patents before Crystal Lagoons filed and provided notice

         of this Complaint. Thus, Pacific Aquascape’s infringement of the Asserted Patents




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      through its efforts to make, use, and/or sell the Hard Rock Lagoon, constitutes willful

      infringement.

78.   Crystal Lagoons has been damaged by Pacific Aquascape’s infringement of the

      Asserted Patents and the tarnishing of the reputation of lagoon-sized recreational

      water structures. Crystal Lagoons will also continue to be damaged by Pacific

      Aquascape’s actions in the future unless Pacific Aquascape is permanently enjoined

      from infringing, directly and/or indirectly, the Asserted Patents.

79.   At this time, Plaintiffs have not yet ascertained or calculated the amount of damages

      or costs they have incurred in connection with Defendant’s infringement or this

      litigation, however, it is estimated that Plaintiffs’ damages (including enhancements)

      are likely to be at least between Forty-five Million Dollars ($45,000,000.00) and

      Fifty-four Million Dollars ($54,000,000.00). The lost profits for which Pacific

      Aquascape is liable are only a fraction of the damages Crystal Lagoons has and is

      likely to suffer from the infringement. To date, Crystal Lagoons has been the

      exclusive provider of its patented and revolutionary large scale tropical-quality water

      structures in the U.S., and is known worldwide as the only provider of these

      prestigious and valuable facilities. Crystal Lagoons’ valuation and ability to secure

      financing is greatly enhanced by this exclusivity. The valuation of Crystal Lagoons’

      intellectual property is estimated to be in excess of $3.3 billion dollars.

80.   Pacific Aquascape’s infringement has damaged the exclusivity Crystal Lagoons has

      earned by virtue of its R&D efforts and intellectual property. The lost exclusivity is




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       likely to significantly reduce the valuation of Crystal Lagoons and could impede its

       ability to secure financing for further growth.

81.    Pacific Aquascape’s infringement also creates the risk of damaging the reputation of

       high-quality lagoon-sized water facilities that Crystal Lagoons has carefully

       developed over many years.

82.     Monetary damages are significant, but will be inadequate to fully compensate Crystal

       Lagoons for these various forms of damages. A permanent injunction is also

       necessary to redress the full extent of the harm caused by the infringement as

       described herein.

83.    Pacific Aquascape was well aware of Crystal Lagoons’ ownership of the proprietary

       technology used in the accused structure and had knowledge of the Asserted Patents.

       Upon information and belief, Pacific Aquascape knew it was copying Crystal

       Lagoons’ unique technology to build a structure significantly different from any

       structure Pacific Aquascape had built before, to Cloward’s design specifications. The

       facts as set forth above, including but not limited to Pacific Aquascape’s willful

       infringement, make this an exceptional case justifying a significant enhancement of

       any monetary damages award and providing grounds for an award of attorney’s fees

       as well.


                           XIII.    REQUEST FOR RELIEF

Crystal Lagoons requests the following relief:




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     A.   A judgment that Pacific Aquascape infringed and induced infringement of

          United States Patent No. 8,062,514, United States Patent No. 9,708,822, and

          United States Patent No. 8,753,520 and that such infringement was willful;

     B.   An injunction enjoining and restraining Pacific Aquascape, its officers,

          directors, agents, servants, employees, attorneys, and all others acting under or

          through it from directly or indirectly infringing United States Patent No.

          8,062,514, United States Patent No. 9,708,822, and United States Patent No.

          8,753,520;

     C.   A judgment and order requiring Pacific Aquascape to pay all damages arising

          out of Pacific Aquascape’s infringement of United States Patent No. 8,062,514,

          United States Patent No. 9,708,822, and United States Patent No. 8,753,520,

          including treble damages for willful infringement as provided by 35 U.S.C. §

          284, with interest;

     D.   A judgment and order directing Pacific Aquascape to pay the costs and expenses

          of this action and attorneys’ fees as provided by 35 U.S.C. § 285 and under

          other applicable law, with interest; and

     E.   Such other and further relief as this Court may deem just and equitable.


                       XIV.     DEMAND FOR JURY TRIAL

      Crystal Lagoons hereby demands that all issues be determined by jury.




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                                   Respectfully submitted,



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